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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND



UNITED STATES OF AMERICA                         *
                                                 *
v.                                               *            Civil No. 05-2000
                                                 *            Criminal No. 94-0454
MARSTON EDWARD BLUE                              *
                                                 *
               Defendant                         *


                                  MEMORANDUM OPINION

                                                  I.

               Following a lengthy trial, a jury found Marston Edward Blue guilty of conspiracy to

possess with intent to distribute heroin and cocaine in violation of 21 U.S.C. § 846 (1994), being a

felon in possession of a firearm in violation of 18 U.S.C. § 922(g)(1) (1994), using and carrying a

firearm in connection with a drug trafficking crime in violation of 18 U.S.C. § 924(c) (1994), and

possession of heroin with intent to distribute in violation of 21 U.S.C. § 841 (1994). See United

States v. Gibson, 197 F.3d 631, 199 WL 543220 (4th Cir. 1999) (unpublished). In the wake of

Apprendi v. New Jersey, 530 U.S. 466 (2000), the Supreme Court vacated Blue’s sentence and

remanded for resentencing. Blue v. United States, 531 U.S. 801 (2000). After lengthy additional

proceedings in the Fourth Circuit and this Court, Blue was resentenced on November 25, 2002 to

life without parole in connection with conspiracy to possess with intent to distribute heroin and

cocaine in violation of 21 U.S.C. § 846, fifteen years (concurrent) in connection with being a felon

in possession of a firearm in violation of 18 U.S.C. § (g)(1), and life without parole in connection

with possession with intent to distribute heroin, aiding and abetting, in violation of 21 U.S.C. § 841

(a)(1) and 18 U.S.C. § 2.



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               The Fourth Circuit affirmed. United States v. Gibson, 85 F. App’x. 905 (4th Cir.

2004). On June 1, 2004, the Supreme Court denied Blue’s certiorari petition (Gibson v. United

States, 541 U.S. 1081 (2004)) and on August 2, 2004, denied his petition for rehearing (Gibson v.

United States, 542 US 958 (2004)).

               Blue’s present Motion to Vacate his sentence pursuant to 28 U.S.C. § 2255 is signed

and dated June 2, 2005. The Government has filed a Motion to Dismiss arguing that the Motion to

Vacate is time-barred because it was filed more than one year after Blue’s conviction became final

when the Supreme Court denied his petition for a writ of certiorari.

               On August 23, 2005, this Court issued an Order allowing Blue to supplement his

Motion to Vacate with various arguments borrowed from his co-defendant Bernard Gibson’s Motion

to Vacate. See Gibson v. United States, Criminal No. PJM 94-454, Paper No. 1111 (D. Md. filed

May 25, 2005). The Government has requested that the Court reconsider its Order and defer any

decision to require an answer to Blue’s Motion until it resolves the preliminary question of whether

the Motion is time-barred. Blue has responded1 that his § 2255 Motion is not time barred, because

the Supreme Court denied his petition for rehearing on August 2, 2004, i.e. less than a year before

he filed his Motion to Vacate.




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        The Fourth Circuit requires that when the statute of limitations issue is raised as a bar to a
habeas action, either by the Government or by a court sua sponte, the petitioner should be
afforded an opportunity to respond before the case is dismissed. See Hill v. Braxton, 277 F.3d
701, 706 (4th Cir. 2002) (holding that a court can sua sponte raise the issue that a habeas corpus
petition under § 2254 is time-barred but cannot then dismiss the petition without affording the
petitioner an opportunity to respond to the court’s concerns); United States v. Sosa, 364 F.3d
507, 510 n.4 (4th Cir. 2004) (applying Hill to § 2255 actions). Blue has had the opportunity to
respond to the substance of the Government’s Motion to Dismiss albeit in the context of his
response to the Government’s request for reconsideration of the Court’s August 23, 2005 Order.

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                                                 II.

                Section 2255 provides for a one-year statute of limitations which runs from the latest

of:

       (1) the date on which the judgment of conviction becomes final;

       (2) the date on which the impediment to making a motion created by governmental
       action in violation of the Constitution or laws of the United States is removed, if the
       movant was prevented from making a motion by such governmental action;

       (3) the date on which the right asserted was initially recognized by the Supreme
       Court, if that right has been newly recognized by the Supreme Court and made
       retroactively applicable to cases on collateral review; or

       (4) the date on which the facts supporting the claim or claims presented could have
       been discovered through the exercise of due diligence.

Since Blue has not claimed an impediment to filing, asserted a new right, or discovered new facts,

the operative date when the limitations clock began to run is the date on which Blue’s conviction

became final.

                The Court concludes that Blue’s conviction became final on June 1, 2004, the date

on which the Supreme Court denied his certiorari petition and not on August 2, 2004, the date on

which the Court denied his petition for rehearing. See United States v. Segers, 271 F.3d 181, 186

(4th Cir. 2001) (“[A]bsent the issuance of a suspension order by the Court or a Justice thereof, as

contemplated by Rule 16.3, the judgment of conviction of a prisoner who has petitioned for

certiorari becomes final for purposes of the one-year period of limitation in §§ 2255P6 (1) when the

Supreme Court denies certiorari after a prisoner's direct appeal.”). Since the Supreme Court issued

no suspension order and since the Fourth Circuit has explicitly rejected the argument that a

conviction becomes final on the date the Supreme Court denies rehearing (See Id.), Blue had only

until June 1, 2005 to file his Motion to Vacate. See Fed. R. Civ. Pro 6(a) (“In computing any period

of time prescribed or allowed by these rules, by the local rules of any district court, by order of


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court, or by any applicable statute, the day of the act, event, or default from which the designated

period of time begins to run shall not be included.”).

                Blue signed his Motion to Vacate on June 2, 2005. Even assuming that he deposited

his Motion with prison officials for mailing on that same day (See Houston v. Lack, 487 U.S. 266

(1988) (prisoner’s legal materials are deemed filed on the date they are deposited with prison

officials for mailing)), the Motion still came a day late.     This Court, as any District Court, is

constrained to strictly adhere to the one year statute of limitations set forth in section 2255. “[A]ny

invocation of equity to relieve the strict application of a statute of limitations must be guarded and

infrequent.” Harris v. Hutchinson, 209 F.3d 325, 330 (4th Cir. 2000). Since Blue’s Motion raises

no issue of equitable tolling, the Court is obliged to conclude that his Motion to Vacate, while filed

only one day late, is nonetheless time-barred.

                                                 III.

                For all of the foregoing reasons, the Court DISMISSES Blue’s Motion to Vacate.

                A separate ORDER accompanies this Memorandum Opinion.




                                                           /s/
                                                     PETER J. MESSITTE
March 8, 2007                                  UNITED STATES DISTRICT JUDGE




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